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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

ABILENE DIVISION
TONY M. RIOS,
Plaintiff,
Vv. No. 1:20-CV-00246-H
ROBERT V. DELEON,
Defendant.

 

ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

The United States Magistrate Judge made findings, conclusions, and a
recommendation that this case should proceed and the Court should enter a scheduling
order. No objections were filed, The District Court independently examined the record and
reviewed the findings, conclusions, and recommendation for plain error. Finding none, the
Court accepts and adopts the findings, conclusions, and recommendation of the United
States Magistrate Judge.

As a result, the Court will enter a separate scheduling order, setting forth dates for
pretrial deadlines and filing dispositive motions.

So ordered.

Dated November §@., 2021.

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JAMES WESLEY HENDRIX
United States District Judge

 

 
